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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION


 NATIONAL COLLEGIATE ATHLETIC                  )
 ASSOCIATION,                                  )
                                               )
                    Plaintiff,                 )
                                               )
             v.                                )   Civil Action No. 1:17-cv-00712-JMS-MPB
                                               )
 KIZZANG, LLC and ROBERT                       )
 ALEXANDER,                                    )
                                               )
                    Defendants.                )


                                 CASE MANAGEMENT PLAN

 I.    Parties and Representatives

       A.    Plaintiff: National Collegiate Athletic Association.

             Defendants: Kizzang, LLC and Robert Alexander.

       B.    Counsel for Plaintiff:

                    Douglas N. Masters
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                  Counsel for Defendants Robert Alexander and Defendant Kizzang, LLP:

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         Counsel shall promptly file a notice with the Clerk if there is any change in this
         information.

 II.     Jurisdiction and Statement of Claims

         A.       Plaintiff believes this Court has subject matter jurisdiction because this is an
                  action arising under the trademark laws of the United States joined with related
                  state law claims, jurisdiction being conferred by 15 U.S.C. § 1121 and 28 U.S.C.
                  § 1338(a). Plaintiff contends that this Court has supplemental jurisdiction over all
                  related state and common law claims in accordance with 28 U.S.C. § 1338(b) and
                  28 U.S.C. §1367. Defendants dispute jurisdiction. Defendants contend that,
                  while the Court may have subject matter jurisdiction over Plaintiff’s claims, it
                  does not have personal jurisdiction over the Defendants and venue is also
                  improper, all as more fully outlined in Defendants’ motion to dismiss Plaintiff’s
                  complaint for lack of personal jurisdiction as to both Defendants and failure to
                  state a claim as to Defendant Alexander, or, in the alternative, to transfer venue to
                  the District of Nevada. (Dkt. No. 50).

         B.       Defendants’ use of the FINAL 3 and APRIL MADNESS marks constitute willful
                  trademark infringement, dilution, and unfair competition and will cause
                  irreparable damage to the NCAA.

         C.       Defendant Kizzang, LLC’s use of the FINAL 3 and APRIL MADNESS marks
                  does not constitute trademark infringement, dilution, or unfair competition and
                  would not cause irreparable damage to Plaintiff. Defendant Kizzang, LLC’s
                  marks do not cause a likelihood of confusion among consumers and Plaintiff’s
                  claims are otherwise barred by waiver, estoppel, and Plaintiff’s own claimed
                  marks, among other things. Moreover, Mr. Alexander is not individually liable
                  under any of Plaintiff’s theories. 1



 1
  As the Court is aware, Defendants have filed a pre-answer motion that is pending before the Court. Therefore,
 Defendants have not yet filed an answer in this matter. For purposes of this Case Management Plan, Defendants
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          D.       Within 14 days after the non-expert discovery deadline, and consistent with the
                   certification provisions of Fed. R. Civ. Proc. 11(b) the party with the burden of
                   proof shall file a statement of the claims or defenses it intends to prove at trial,
                   stating specifically the legal theories upon which the claims or defenses are based.

 III.     Pretrial Pleadings and Disclosures

       Except if the Court grants Plaintiff’s Request for Default or Defendants’ Motion to
 Dismiss or transfers venue,

          A.       The parties shall serve their Fed. R. Civ. P. 26 initial disclosures on or before
                   January 15, 2018.

          B.       Plaintiff shall file preliminary witness and exhibit lists on or before February 15,
                   2018.

          C.       Defendants shall file preliminary witness and exhibit lists on or before
                   March 15, 2018.

          D.       All motions for leave to amend the pleadings and/or to join additional parties shall
                   be filed on or March 25, 2018.

          E.       Plaintiff shall serve Defendants (but not file with the Court) a statement of special
                   damages, if any, and make a settlement demand, on or before
                   February 15, 2018. Defendants shall serve on the Plaintiff (but not file with the
                   Court) a response thereto within 30 days after receipt of the demand.

          F.       Plaintiff shall disclose the name, address, and vita of any expert witness, and shall
                   serve the report required by Fed. R. Civ. P. 26(a)(2) on or before June 15, 2018.
                   Defendants shall disclose the name, address, and vita of any expert witness, and
                   shall serve the report required by Fed. R. Civ. P. 26(a)(2) on or before August 1,
                   2018; or if Plaintiff has disclosed no experts, Defendants shall make its expert
                   disclosure on or before August 1, 2018.

          G.       If a party intends to use expert testimony in connection with a motion for
                   summary judgment to be filed by that party, such expert disclosures must be
                   served on opposing counsel no later than 90 days prior to the dispositive motion
                   deadline. If such expert disclosures are served the parties shall confer within 7
                   days to stipulate to a date for responsive disclosures (if any) and completion of
                   expert discovery necessary for efficient resolution of the anticipated motion for
                   summary judgment. The parties shall make good faith efforts to avoid requesting
                   enlargements of the dispositive motions deadline and related briefing deadlines.
                   Any proposed modifications of the CMP deadlines or briefing schedule must be
                   approved by the court.

 identify certain defenses and theories but reserve the right to assert any and all available claims, defenses, and
 theories in their answer and other responsive pleadings.
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       H.    Any party who wishes to limit or preclude expert testimony at trial shall file any
             such objections no later than 60 days before trial. Any party who wishes to
             preclude expert witness testimony at the summary judgment stage shall file any
             such objections with their responsive brief within the briefing schedule
             established by Local Rule 56-1.

       I.    All parties shall file and serve their final witness and exhibit lists on or before
             November 17, 2018. This list should reflect the specific potential witnesses the
             party may call at trial. It is not sufficient for a party to simply incorporate by
             reference “any witness listed in discovery” or such general statements. The list of
             final witnesses shall include a brief synopsis of the expected testimony.

       J.    Any party who believes that bifurcation of discovery and/or trial is appropriate
             with respect to any issue or claim shall notify the Court as soon as practicable.

       K.    Discovery of electronically stored information (“ESI”).

             Plaintiff does not believe that a substantial volume of ESI will be
             produced in this case. Likewise, Defendants do not presently anticipate
             that a substantial volume of ESI will be produced in this case, but will
             know more once it discovers Plaintiff’s methods and means of storage and
             communication of data. In either case, the parties agree the following
             provision shall apply:

                    In the event that a document protected by the attorney-client
                    privilege, the attorney work product doctrine or other applicable
                    privilege or protection is unintentionally produced by any party to
                    this proceeding, the producing party may request that the document
                    be returned. In the event that such a request is made, all parties to
                    the litigation and their counsel shall promptly return all copies of
                    the document in their possession, custody, or control to the
                    producing party and shall not retain or make any copies of the
                    document or any documents derived from such document. The
                    producing party shall promptly identify the returned document on a
                    privilege log. The unintentional disclosure of a privileged or
                    otherwise protected document shall not constitute a waiver of the
                    privilege or protection with respect to that document or any other
                    documents involving the same or similar subject matter.
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 IV.    Discovery 2 and Dispositive Motions

        Due to the time and expense involved in conducting expert witness depositions and other
        discovery, as well as preparing and resolving dispositive motions, the Court requires
        counsel to use the CMP as an opportunity to seriously explore whether this case is
        appropriate for such motions (including specifically motions for summary judgment),
        whether expert witnesses will be needed, and how long discovery should continue. To
        this end, counsel must select the track set forth below that they believe best suits this
        case. If the parties are unable to agree on a track, the parties must: (1) state this fact in
        the CMP where indicated below; (2) indicate which track each counsel believes is most
        appropriate; and (3) provide a brief statement supporting the reasons for the track each
        counsel believes is most appropriate. If the parties are unable to agree on a track, the
        Court will pick the track it finds most appropriate, based upon the contents of the CMP
        or, if necessary, after receiving additional input at an initial pretrial conference.

        A.     Plaintiff filed a request for entry of default (Dkt. No. 30) based on Defendants’
               failure to file an answer or other responsive pleading by the July 15, 2017,
               deadline set by the Court (Dkt. No. 28). Defendants filed an opposition to
               Plaintiff’s request on August 10, 2017 (Dkt. No. 36), almost immediately after
               Defendants current counsel appeared, and reported that to the Court during the
               August 8, 2017 telephone conference with the Court. The parties are awaiting the
               Court’s ruling on Plaintiff’s request.

               Defendants also filed a motion to dismiss Plaintiff’s complaint for lack of
               personal jurisdiction as to both Defendants and failure to state a claim as to
               Defendant Alexander, or, in the alternative, to transfer venue to the District of
               Nevada. (Dkt. No. 50) The motion will be fully briefed, per stipulation of the
               parties, on October 20, 2017 (Dkt. No. 56).

               The Parties also want to address the issue of the preliminary injunction that is set
               to expire on December 31, 2017.

               Should the Court deny Plaintiff’s request for entry of default and Defendants’
               motion to dismiss or to transfer venue, Plaintiff believes that this case may be
               appropriate for summary judgment because the actions of Defendants in using the
               FINAL 3 and APRIL MADNESS marks are undisputed, leaving the Court with
               questions of law appropriate for summary judgment based on a legal analysis of

        2
          The term “completed,” as used in Section IV.B, means that counsel must serve their
 discovery requests in sufficient time to receive responses before this deadline. Counsel may not
 serve discovery requests within the 30-day period before this deadline unless they seek leave of
 Court to serve a belated request and show good cause for the same. In such event, the proposed
 belated discovery request shall be filed with the motion, and the opposing party will receive it
 with service of the motion but need not respond to the same until such time as the Court grants
 the motion.
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               the marks at issue and any potential expert testimony regarding the marks (i.e.,
               whether there is a reasonable likelihood of confusion between the NCAA’s
               FINAL 4 and Defendants’ FINAL 3 marks; and between the NCAA’s
               MARCH MADNESS and Defendants’ APRIL MADNESS marks).

               Should the Court deny Plaintiff’s request for entry of default and Defendants’
               motion to dismiss or to transfer venue, Defendants believe that the case may still
               be appropriate for summary judgment because, among other things, Plaintiff
               cannot establish its claims; in trademark actions, mere use of the marks alone is
               insufficient; under the applicable factors, there is no “likelihood of confusion” by
               consumers as to “appearance and suggestion, similarity of the products, and likely
               care exercised by consumers in selecting the marks; and Mr. Alexander is not
               personally liable with respect to Plaintiff’s claims.

               In order to expedite discovery and reduced discovery disputes that could delay the
               proceedings, an Agreed Protective Order will be prepared and signed by the
               parties and submitted to the Court for approval by no later than October 31, 2017.
               Defendants will provide a proposed Protective Order to Plaintiff by October 21,
               2107. Select the track that best suits this case:

        Parties’ Proposed Track:
                   X Track 3: Dispositive motions are expected and shall be filed by
               September 15, 2018; discovery relating to liability issues and expert witness
               discovery that may be necessary at the dispositive motions state shall be
               completed by August 15, 2018; all remaining discovery shall be completed by
               October 15, 2018.

               Absent leave of court, and for good cause shown, all issues raised on summary
               judgment under Fed. R. Civ. P. 56 must be raised by a party in a single motion.

 V.     Pre-Trial/Settlement Conferences

        At any time, any party may call the Judge’s Staff to request a conference, or the Court
        may sua sponte schedule a conference at any time. The presumptive time for a settlement
        conference is no later than 30 days before the close of non-expert discovery. The
        parties are encouraged to request an earlier date if they believe the assistance of the
        Magistrate Judge would be helpful in achieving settlement. The parties recommend
        a settlement conference in November 2017.

 VI.    Trial Date

        The presumptive trial date is 20 months from the Anchor Date. The parties request a trial
        date in January 2019. The trial is by jury and is anticipated to take 5 days.

 VII.   Referral to Magistrate Judge
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       At this time, all parties do not consent to refer this matter to the currently assigned
       Magistrate Judge pursuant to 28 U.S.C. 636(c) and Federal Rules of Civil Procedure 73
       for all further proceedings including trial.

 VIII. Required Pre-Trial Preparation

       A.     TWO WEEKS BEFORE THE FINAL PRETRIAL CONFERENCE, the
              parties shall:

              1.     File a list of trial witnesses, by name, who are actually expected to be
                     called to testify at trial. This list may not include any witnesses not on a
                     party’s final witness list filed pursuant to section III.I.

              2.     Number in sequential order all exhibits, including graphs, charts and the
                     like, that will be used during the trial. Provide the Court with a list of
                     these exhibits, including a description of each exhibit and the identifying
                     designation. Make the original exhibits available for inspection by
                     opposing counsel. Stipulations as to the authenticity and admissibility of
                     exhibits are encouraged to the greatest extent possible.

              3.     Submit all stipulations of facts in writing to the Court. Stipulations are
                     always encouraged so that at trial, counsel can concentrate on relevant
                     contested facts.

              4.     A party who intends to offer any depositions into evidence during the
                     party’s case in chief shall prepare and file with the Court and copy to all
                     opposing parties either:

                     a.      brief written summaries of the relevant facts in the depositions that
                             will be offered. (Because such a summary will be used in lieu of
                             the actual deposition testimony to eliminate time reading
                             depositions in a question and answer format, this is strongly
                             encouraged.); or

                     b.      if a summary is inappropriate, a document which lists the portions
                             of the deposition(s), including the specific page and line numbers,
                             that will be read, or, in the event of a video-taped deposition, the
                             portions of the deposition that will be played, designated
                             specifically by counter-numbers.

              5.     Provide all other parties and the Court with any trial briefs and motions in
                     limine, along with all proposed jury instructions, voir dire questions, and
                     areas of inquiry for voir dire (or, if the trial is to the Court, with proposed
                     findings of fact and conclusions of law).
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               6.     Notify the Court and opposing counsel of the anticipated use of any
                      evidence presentation equipment.

        B.     ONE WEEK BEFORE THE FINAL PRETRIAL CONFERENCE, the
               parties shall:

               1.     Notify opposing counsel in writing of any objections to the proposed
                      exhibits. If the parties desire a ruling on the objection prior to trial, a
                      motion should be filed noting the objection and a description and
                      designation of the exhibit, the basis of the objection, and the legal
                      authorities supporting the objection.

               2.     If a party has an objection to the deposition summary or to a designated
                      portion of a deposition that will be offered at trial, or if a party intends to
                      offer additional portions at trial in response to the opponent’s designation,
                      and the parties desire a ruling on the objection prior to trial, the party shall
                      submit the objections and counter summaries or designations to the Court
                      in writing. Any objections shall be made in the same manner as for
                      proposed exhibits. However, in the case of objections to video-taped
                      depositions, the objections shall be brought to the Court’s immediate
                      attention to allow adequate time for editing of the deposition prior to trial.

               3.     File objections to any motions in limine, proposed instructions, and voir
                      dire questions submitted by the opposing parties.

               4.     Notify the Court and opposing counsel of requests for separation of
                      witnesses at trial.


 Respectfully Submitted,

 Dated: October 12, 2017                              By: /s/ Douglas Masters

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  ******************************************************************************


               PARTIES APPEARED IN PERSON/BY COUNSEL ON                   FOR A
               PRETRIAL/STATUS CONFERENCE.

               APPROVED AS SUBMITTED.

               APPROVED AS AMENDED.

               APPROVED AS AMENDED PER SEPARATE ORDER.

               APPROVED, BUT ALL OF THE FOREGOING DEADLINES ARE
               SHORTENED/LENGTHENED BY ______________ MONTHS.


               APPROVED, BUT THE DEADLINES SET IN SECTION(S)
               _______________ OF THE PLAN IS/ARE SHORTENED/LENGTHENED BY
               ______________ MONTHS.


               THIS MATTER IS SET FOR TRIAL BY                   ON
               _____________________________. FINAL PRETRIAL CONFERENCE IS
               SCHEDULED FOR ____________________________________ AT     .M.,
               ROOM                   .


               A SETTLEMENT/STATUS CONFERENCE IS SET IN THIS CASE FOR
                                AT       .M. COUNSEL SHALL APPEAR:

                                        IN PERSON IN ROOM          ; OR

                                        BY TELEPHONE, WITH COUNSEL FOR
                          INITIATING THE CALL TO ALL OTHER PARTIES AND
                          ADDING THE COURT JUDGE AT (____)
                          ___________________; OR

                                        BY TELEPHONE, WITH COUNSEL
                          CALLING THE JUDGE’S STAFF AT (____)
                          ___________________;


               DISPOSITIVE MOTIONS SHALL BE FILED NO LATER THAN
               _____________________
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         Upon approval, this Plan constitutes an Order of the Court. Failure to comply with an
  Order of the Court may result in sanctions for contempt, or as provided under Rule 16(f), to and
  including dismissal or default.

         Approved and So Ordered.




  ________________________                            ___________________________________
  Date                                                U. S. District Court
                                                      Southern District of Indiana
